 

Case 2:19-cv-14620-ES-SCM Document 11 Filed “CT 1 of 1 PagelD: 45

 

UNITED STATES DISTRICT COURT DISTRICT OF NEW JERSEY INDEX #: 2:19-CV-14620-ES-SCM
Attorneys: Company: STEIN SAKS, PLLC PH: (201) 282-6500 x115 Date Filed: 07/02/2019
Address: 285 PASSAIC STREET HACKENSACK, NJ 07601
Client's File No.:
ERIC STOBEZKI
vs Plaintiff

EQUIFAX INFORMATION SERVICES LLC, ET AL

Defendant

_
Sa _ OCAN ss: FE,
SPATE OF , COUNTY OF Ss.: AFFIDAVIT OF SERVI
(in WAY ( HIA INGYN , being HY Gat Gree and says: § .

. X
Deponent is not a party herein, is over 18 years of age. On { t at SD : 3 v
at_100 CHARLES EWING BLVD. STE 160, EWING, NJ 08628 | , deponent served the within
SUMMONS INA CIVIL CASE , COMPLAINT DEMAND FOR JURY TRIAL

 

 

 

 

on: EQUIFAX INFORMATION SERVICES, LLC C/O THE PRENTICE HALL | ‘ therein named.
CORPORATION SYSTEM, INC.

#1 INDIVIDUAL By delivering a true copy of each to said recipient personally; deponent knew the person served to be the person

 

 

 

 

 

 

 

 

i] described as said person therein. uy
#2 CORPORATION By delivering thereat a true copy of each to Solin JENS L. and that deponent knew
the person so served to be the of the corporation, and authorized to
to accept service on behalf of the corporation.
#3 SUITABLE By delivering a true copy of each to a person of suitable age and discretion.
AGE PERSON Said premises is recipient's [ ] actual place of business [ ] dwelling house (usual place of abode) within the state.
ceed
#4 AFFIXING By affixing a true copy of each to the door of said premises, which is recipient's: [ ] actual place of business
TO ron I ] dwelling house (place of abode) within the state.
= Deponent was unable, with due diligence to find recipient or a person of suitable age and discretion, having called
thereat on the day of at
onthe _. day of at
onthe oo . Gay of at
onthe oo day of at
#5MAILCOPY On, deponent completed service under the last two sections by depositing a copy of the
ry documents listed above to the above address in a 1st Class postpaid properly addressed envelope marked

“Personal and Confidential’ in an official depository under the exclusive care and custody of the
United States Post Office in the State of .

 

 

#6 NON-SRVC Afier due search, careful inquiry and diligeni alfermpts, i have been unable to effect process upon the perscon/entity
T being served because of the following: { ] Unknown at Address { ] Evading { ] Moved left no forwarding
= {[ ] Address does not exist [ ] Other:

#7 DESCRIPTION A description of the Defendant, or gther person served, or spo ee Ang of the Defendant is as follows: A
Sex: {Y= Color of skin: Color of hair: LYQL Age: $5. Height: _ 2 Z
use WTF

 

» Bore) Weight: {307 Other Features:
#8 i Subpoena Fee Tendered in the amount of

 

#9 MILITARYSRVC Deponent asked person spoken to whether the recipient was presently in military service of the United States Government or of the State
a of and was informed that recipient was not. Recipient wore ordinary civilian clothes and no military u
#10 OTHER
i)

 

 

Swo

Lt [—< elaely

v hn Name Below Signature

(alin Coleman.

  

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OF

   
 
